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To: Board of Directors of Grand Canyon Education, Inc.
From: Board of Trustees of Grand Canyon University
Re: Master Services Agreement
Date: December 23, 2019 (updated by GCE on 12.26 / updated by GCU on 1.7.20)

The U.S. Department of Education (the “Department”) has directed GCU to review and respond
to its November 6, 2019 letter. The University disagrees with the Department’s conclusion that
GCU is not a nonprofit institution for Title IV, HEA purposes and has met with the Department
in an effort to demonstrate the many positive results accomplished over the last 18 months. The
Department has indicated that it does not consider those results to be relevant and, instead, has
indicated to GCU that it will only consider GCU a nonprofit institution for Title IV, HEA
purposes if certain changes are made to the terms of the July 1, 2018 Master Services Agreement
with GCE (the “MSA”). We know that you understand the importance to the University in
achieving recognition of its nonprofit status by the Department of Education for the long-term
legacy of the institution and are hopeful that you will consider the following revised terms. We
sincerely appreciate the support and investment that GCE has made into the educational
infrastructure at GCU and we look forward to many continued years of success together for the
benefit of GCU’s students, alumni, faculty and staff. It is understood that the following changes
are conditioned upon (i) submitting the proposed changes to the Department, and (ii) receiving
confirmation from the Department that it will treat GCU as a nonprofit for Title IV, HEA
purposes if the following changes are implemented.

   •   Fee Structure – adjust the fee structure such that only        of tuition and fees are paid
       to GCE, but with a cap of no more than         of GCU’s total revenue. The cap is based
       on       instead of the current      because, as described below, the University would be
       taking on additional expense with the transition of employees from certain departments
       from GCE to GCU. With the exception of the fee cap calculation, all other University
       revenue, including student housing, food services, athletics, and ancillary revenues would
       be excluded from the calculation of fees paid to GCE. The revised fee structure would be
       contingent upon an updated transfer pricing study. The fee structure would therefore be
       capped at the lesser of         of GCU’s tuition and fees revenue or        of GCU’s total
       revenue and, as you know, GCU would continue to have full control over the tuition and
       fee structure for its students.

   •   Optional Adjustment Date – amend Exhibit D, Section 2(c) of the MSA to shorten the
       time of the first Optional Adjustment Date from the 10th anniversary of the Effective Date
       to the 8th anniversary of the Effective Date.



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•   Early Termination Right – amend Section 6.3 of the MSA to (a) change the date at which
    the University can elect to terminate the MSA during the Initial Term from July 1, 2025
    to July 1, 2023, (b) allow for the University to elect to terminate the MSA at any time
    during a Renewal Term, (c) delete Section 6.3(b) such that an early termination is not
    conditioned on whether the Secured Note has been repaid, and (d) reduce the notice
    period for the University to terminate the MSA under Section 6.3 from 18 months to 9
    months.

•   Early Termination Fee – amend the definition of “Early Termination Fee” to reduce the
    Early Termination Fee payable upon exercise of the early termination right under Section
    6.3 from         of the aggregate Services Fees paid or payable by GCU to GCE for the
    trailing twelve (12) month period ended as of the end of the month immediately prior to
    the effective date of termination to      of such fees.

•   Non-Renewal Fee – amend Section 6.2 of the MSA to eliminate the Non-Renewal Fee if
    GCU elects not to renew the MSA after the 15th anniversary (i.e. July 1, 2033).

•   Dual Role – as you know from our negotiations last year, we want to express again how
    important it is to the full Board of Trustees that President Mueller continue to serve as the
    President of the University. President Mueller was the visionary leader that transformed
    the University from the brink of closure to the unbelievable success that it is today. We
    cannot understate what an unbelievable asset he is to the University and how critical he is
    to the ongoing success of this institution. As a Board, we insisted that President Mueller
    continue as the President of GCU and, although he was willing to sign a 5-year
    employment agreement with the University, we were actually hoping the term could be
    longer. In our negotiations, you also insisted that President Mueller retain his role as the
    CEO of GCE. We resolved this issue through the adoption of an MSA committee at the
    Board of Trustee and University levels, as well as through the conflict resolution process
    outlined in the terms of the MSA. As you know, this structure was developed through
    correspondence with the IRS and thoroughly reviewed and approved by HLC. Given
    President Mueller’s critical importance to the ongoing operations of the University, we
    are not willing to concede this point and we intend to reiterate our insistence to the
    Department that President Mueller retain his position as President of the University. We
    will, however, consider an amendment to our Bylaws that would preclude anyone other
    than President Mueller from holding a Board or executive position with a material service
    provider to the University in the future.

•   Management and Oversight – we also disagree with the Department’s interpretation of
    executive leadership and have significant concerns regarding any changes to the
    University’s structure. All of the core academic functions of the University and the
    related executive team members who are responsible for managing and overseeing GCU
    and developing its strategic vision are already employed by the University. The majority
    of the services provided by GCE are non-academic functions that support the core
    academic missions of the University and which we understand GCE currently provides,
    or plans to provide, to its other university clients. The other services are back office



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       services, such as accounting and procurement, that the University could provide itself,
       but has decided to utilize GCE for cost-saving purposes. As you know, this specific
       structure was reviewed by HLC, including site visits and meetings with the University’s
       leadership team and faculty, with the site review team concluding that the Board of
       Trustees, faculty and staff were qualified and structured in a way to support the
       University’s academic offerings and operations.

       Again, though, in an effort to address the Department’s letter, we would like to propose
       that the curriculum services, faculty operations, and strategic educational alliance teams
       at GCE transition over to become employees of the University. As a result of this
       change, 3 departments and 10 executives that are currently at GCE, and most closely tied
       to the core academic functions of the University, would transition to GCU.

   •   Back Office Services – we are clarifying Section 6.9 of the MSA such that if GCU elects
       to assume the Back Office Services directly, the University could either manage those
       services itself or outsource those services to another third party.

Again, we appreciate your consideration of these proposed changes to the terms of our MSA.
We believe these changes will address the concerns outlined by the Department in its November
6 letter and allow GCU to be properly recognized as a nonprofit institution for Title IV, HEA
purposes.




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